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January 21, 2016
                                            Opening Statement

       After the incident on October 18, 2014 took place, I did not intend to file a complaint of

any ·kind. I did not foresee it being helpful to my personal recovety. I looked forward to returnillg

to a sense of normalcy, and going thro·ugh a formal investigation seemed like the farthest thing

from my definition of"normal." One of the main things I have learned in the past 15 months,

however, is that one's personal experience with and feeling~ towards an event such as the one I

have described changes dramatically with time. I originally thought I was on some sort oflinear

traj ectory toward feeling safe again, understanding what happened, and healing a part of me that

I never imagiw~d would be broken.

       Thollgh I originally chose not to file a complaint, Twas profoundly affected by tb1s event

frorn the very beginning. I returned home for fall break after the incident and chose not to tell my
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parents or brother what had taken place. My relationships with them became strained as I blamed

them for not understanding my stress and unhappiness during that time. Furthermore, I abruptly

cncled my relatioDShips with all of my high school friends except one, because it was too difficult

to keep what happened from them, but it would have been even more difficult to tell them. At

Yale things fared a bit better. I was, and still am, surrounded by an incredible group offliends

who support me, believe me, and respect me. I                                  because I did not want

                                          but I have retained many of the friendships from my

      There were still many moments, bowever, in which J would be overcome by emotion-

when an article about Yale basketball was posted on social media, when theY ale police sent an

email about an instance of sexual assault, or when I saw Jack's name on the guest list of my

sorority's event. T cm1tinued to have nightmares throughout tl~e fall of 2014. I did feel as if

dealing with my emotions w.as gradually becoming easier. I was surprised, therefore, to fmd
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myself feeling as hurt and as anxious this fall as I had in the hours and days after the incident. It

became difficult for me. to cope with what had happened. At first I blamed my stress on my

heavy workload, graduate school applications, and my new living situation. But after an outburst

of crying while making dinner with one of my male friends in October 2015, I realized that

perhaps I wasn't as okay as I thought I was.

        At that time, I still was trying to focu8 mainly on myself. I went to SHARE, but I did not

intend to file a complaint. In the days after my initial meeting with Amy, and with the suppdrt of

my friends, I filed an infcim1al complaint with Angela Gleason. As Angie describes in the fact

fmder's report, she reached out to me again after I had filed the infoiDJal complaint. She

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suggested. She told me that she would not be doing her job if she did not take more serious

action, and she asked for my participation in the case.

        My conversation with Angie reframed the incident for me. I had always viewed myself as

the victim of someone else's one-time mistake. My initial complaint did not derive from a sense

of vengeance or a desire to harm Jack's repu.tation or wellbeing. I thought that perhaps he would

benefit from sensitivity training, and the informal complaint process seemed like tbe best way to

achieve that. My perspective broadened after my conversation with Angie, as I began to think

about the other people on this campus and how my choosing to remain silent on this matter could

harm them. I did feel as though my hands were tied; I cOuld not, in good cons<;:ience, say no to

participating in the investigation.

        However, the mere thought of participating in this process was extremely difficult for me.

ALter my conversation with Angie, I was very upset for several weeks. I met with my dean to get

extensions on many of my assignments, because even when not in meetings related to the




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investigation, I was much too distracted to be productive. I was terrified at the thought of

retelling what happened in excruciating detail. I remained less concerned with what Jack would

say or even the outcome of this hearing and more concerned with the experience of talking

through the events ofthat night, reliving and re-experiencing the emotions that I felt. I had been

largely shut-off to those initial emotions for many months, and the investigation brought back

many of them for me. It is difficult to describe the most conf\,lsing night of your life, a night

where you not only did not understand another person's actions, but also did not understand your

owu actions. There is one action of mine, in particular, that I would like to address.

        One of the undisputed facts of this incident is that after leaving Jack's house for a short

time,. I met him again and spent the night at his hO'use. This is one the most difficult parts of the

event for me to understand, and it is something with which I still grapple. I was incredibly

confui;ed about what had happened about an hour before in Jack's room. I felt as ifi was in a

daze. The event was so unexpected and unthinkable to me, because I had never before felt unsafe

either with Jack or at Yale as a whole. I did not have the clarity of mind at the time to understand

rny options, and I do not think I bad begun to process what happened. I felt stripped of my

decision making power and recall acting very passively. I knew that ifi went borne and saw my

friends, I would immediately break down and have to explain the unexplainable. I now see that I

had other options- ifi didn't want to go to my room, perhaps I could have called another close

friend. l think I was shielding myself from the event. Even after I returned the next morning with

the plan to wait until midterms were over to tell my friends what happened, I was so upset that I

WHS   unable lo avoid telling them. As the meetings with the fact finder have reminded me, telling

a tra1.rmatic story is in itse]fboth traumatic and cathartic. So that night I went back to Jack's

room, the only place where I wouldn't have to explain myself.




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        It was impossible for me to imagine the effect that this incident would have on me. I

thought meeting with Jack after the incident would be enough for me to gain closure. I thought

that if he heard about my feelings towards tJ1e event that he would recognize the severity of his

actions. I am not sure that twas particularly cffectivo, firm, and coherent in my conversation

with him. 1 was mostly focused on trying not to cry in front of him, and my goal was to let him

know how I was feeling rather than yell at him or threaten to take action through the police or

UWC. It was a short conversation. Perhaps my wording was vague, as I had a difficult time

articulating how I had been feeliug. He told me that he was very drunk the night of the incident,

and that he understood ifl didn't want to be around him when he was drunk. I left the

conversation feeling as if Jack ancl my interpretation uf Uw cvunL::~ u[ LhuL lligl1t Wt~1~ nut

altogether different.

        There is a lot in the fact finder's report about what I said on the night of October 18th.

You have read that I told him that I didn't want to have sex on three separate occasions. I would,

however, like you to also pay attention to what Jack said on that night. On the first two instances

of me asking (not stating) if it was okay for us to "hook up" without having sex, he answered

affim1atively. Immediately after the incident, be said, "I'm sony. I know you didn't want that."

Perhaps Jack did not realize how upset I was when I met with him the week after the incident.

But I have no reason to believe that he did not and does not know that he acted against my

clearly expressed wishes on October 18 1h.

        I ·understand that the outcome of this bearing is not in my hands, but yours, just as the

reason for this hearing was not in my hands, but Jack's. What I would like the panel to consider

is whether Jack's actions reflect the values of Yale and whether his actions represent the qualities

11m! you want to see in Yale's student body and its alumni.




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